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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                             )
  JAMES MICHAEL ALLMAN on behalf of )
  himself and all others similarly situated, )
                                             )
                       Plaintiff,            )
                v.                           )         Docket No. 14-cv-10138
                                             )
  AMERICAN AIRLINES, INC. PILOT              )
  RETIREMENT BENEFIT PROGRAM                 )
  VARIABLE INCOME PLAN, STATE                )
  STREET BANK & TRUST COMPANY,               )
  LAURA A. EINSPANIER, CAROLYN E.            )
  WRIGHT, BRIAN J. MCMENAMY,                 )
  PETER WARLICK, BEVERLY K.                  )
  GOULET, MARK BURDETTE, AND                 )
  JOHN & JANE DOES 1-50.                     )
                                             )
                       Defendants.           )


                       DECLARATION OF MATTHEW Z. CROTTY


I, Matthew Z. Crotty, declare under penalty of perjury of the laws of the United States:

       1.      I am competent to testify and have personal knowledge about what is written in this

declaration.

       2.      I am co-counsel of record in the above captioned matter.

       3.      Attached hereto as Exhibit A is a true and correct copy of AMR Corporation’s

Motion for Entry of Order Pursuant to Fed. R. Bankr. 9019(a) Approving Settlement Agreement

Resolving Certain Pending ERISA/USERRA litigation (hereinafter “Approval Motion”).

       4.      Attached hereto as Exhibit B is a true and correct copy of the United States

Bankruptcy Court for the Southern District of New York’s November 15, 2016, Order granting

the above-referenced Approval Motion.

                                                1
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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed in Spokane, Washington this 9th day of January 2017.



                                             / s / Matthew Z. Crotty
                                             MATTHEW Z. CROTTY




                                                2
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 9, 2017, I electronically filed the foregoing using the

CM/ECF system, which will send notification of such filing to counsel at the email address(es)

registered with the system.

                                                     / s / Matthew Z. Crotty
                                                     Matthew Z. Crotty (pro hac vice)
                                                     CROTTY & SON LAW FIRM, PLLC
                                                     905 W. Riverside Ave, Suite 409
                                                     Spokane, WA 99201
                                                     Tel: (509) 850-7011
                                                     matt@crottyandson.com




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     EXHIBIT A
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                                  HEARING DATE AND TIME: October 20, 2016 at 2:00 p.m. (Eastern Time)
                                    OBJECTION DEADLINE: October 13, 2016 at 4:00 p.m. (Eastern Time)

Stephen Karotkin
Alfredo R. Pérez
Stephen A. Youngman
WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue
New York, New York 10153
Telephone: (212) 310-8000
Facsimile: (212) 310-8007

Attorneys for Debtors
and Reorganized Debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11 Case No.
                                                               :
AMR CORPORATION                                                :   11-15463 (SHL)
                                                               :
                                    Debtors.                   :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                         NOTICE OF HEARING
                       ON MOTION OF DEBTORS
                  FOR ENTRY OF ORDER PURSUANT TO
           FED. R. BANKR. P. 9019(a) APPROVING SETTLEMENT
   AGREEMENT RESOLVING CERTAIN PENDING ERISA/USERRA LITIGATION

                    PLEASE TAKE NOTICE that a hearing on the annexed motion, dated

September 6, 2016 (the “Motion”), of AMR Corporation and its related debtors, as debtors and

reorganized debtors (collectively, the “Debtors”), will be held before the Honorable Sean H.

Lane, United States Bankruptcy Judge, in Room 701 of the United States Bankruptcy Court for

the Southern District of New York (the “Bankruptcy Court”), One Bowling Green, New York,

New York 10004, on October 20, 2016 at 2:00 p.m. (Eastern Time), or as soon thereafter as

counsel may be heard.




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                    PLEASE TAKE FURTHER NOTICE that any responses or objections to the

Motion (the “Objections”) must be in writing, shall conform to the Federal Rules of Bankruptcy

Procedure and the Local Bankruptcy Rules for the Southern District of New York, and shall be

filed with the Bankruptcy Court (a) by registered users of the Bankruptcy Court’s case filing

system, electronically in accordance with General Order M-399 (which can be found at

http://nysb.uscourts.gov) and (b) by all other parties in interest, on a 3.5 inch disk, in text-

searchable portable document format (PDF) (with a hard copy delivered directly to Chambers),

in accordance with the customary practices of the Bankruptcy Court and General Order M-399,

to the extent applicable, and served in accordance with General Order M-399 and on (i) the

attorneys for the Debtors, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New

York 10153 (Attn: Stephen Karotkin, Esq.) and (ii) the Debtors, c/o AMR Corporation, 4333

Amon Carter Boulevard, MD 5675, Fort Worth, Texas 76155 (Attn: D. Douglas Cotton, Esq.),

so as to be received no later than October 13, 2016 at 4:00 p.m. (Eastern Time) (the

“Objection Deadline”).


                    PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and

served with respect to the Motion, the Debtors may, on or after the Objection Deadline, submit to

the Bankruptcy Court an order substantially in the form of the proposed order annexed to the




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Motion, which order may be entered with no further notice or opportunity to be heard.


Dated: New York, New York
       September 6, 2016

                                            /s/ Stephen A. Youngman
                                            Stephen Karotkin
                                            Alfredo R. Pérez
                                            Stephen A. Youngman

                                            WEIL, GOTSHAL & MANGES LLP
                                            767 Fifth Avenue
                                            New York, New York 10153
                                            Telephone: (212) 310-8000
                                            Facsimile: (212) 310-8007

                                            Attorneys for Debtors
                                            and Reorganized Debtors




                                               3
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            Case 1:14-cv-10138-IT Document 99-2 Filed 01/09/17 Page 8 of 91
                                   HEARING DATE AND TIME: October 20, 2016 at 2:00 p.m. (Eastern Time)
                                     OBJECTION DEADLINE: October 13, 2016 at 4:00 p.m. (Eastern Time)



Stephen Karotkin
Alfredo R. Pérez
Stephen A. Youngman
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Telephone: (212) 310-8000
Facsimile: (212) 310-8007

Attorneys for Debtors
and Reorganized Debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11 Case No.
                                                               :
AMR CORPORATION                                                :   11-15463 (SHL)
                                                               :
                                    Debtors.                   :   (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                          MOTION OF DEBTORS
                    FOR ENTRY OF ORDER PURSUANT TO
             FED. R. BANKR. P. 9019(a) APPROVING SETTLEMENT
     AGREEMENT RESOLVING CERTAIN PENDING ERISA/USERRA LITIGATION

TO THE HONORABLE SEAN H. LANE,
UNITED STATES BANKRUPTCY JUDGE:

                    AMR Corporation and its related debtors, as debtors and reorganized debtors

(collectively, the “Debtors”), respectfully represent:

                                                  Background

A.        General Background

                    1.        On November 29, 2011 (the “Commencement Date”), each of the

Debtors commenced a voluntary case under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”).



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                    2.        On October 21, 2013, the Court entered the Findings of Fact, Conclusions

of Law, and Order Pursuant to Sections 1129(a) and (b) of the Bankruptcy Code and Rule 3020

of the Federal Rules of Bankruptcy Procedure Confirming Debtors’ Fourth Amended Joint

Chapter 11 Plan (the “Confirmation Order”) (ECF Nos. 10361, 10367), which, among other

things, confirmed the Debtors’ Second Amended Joint Chapter 11 Plan, dated June 5, 2013 (ECF

No. 8590) (as amended and modified, the “Plan”). The effective date of the Plan was December

9, 2013 (the “Effective Date”).

B.        Pending Litigation

                    3.        On January 17, 2014, a putative class action lawsuit styled as Allman v.

American Airlines, Inc. Pilot Retirement Benefit Program Variable Income Plan, et al., No. 14-

cv-10138 in the United States District Court for the District of Massachusetts (“Massachusetts

District Court”) was filed by James Michael Allman on behalf of certain putative class

members (“Plaintiffs” ) asserting claims against the Pension Benefits Administration Committee

for the American Airlines, Inc. Pilot Retirement Benefit Program (“PBAC”), State Street Bank

& Trust Company, Laura A. Einspanier, Carolyn E. Wright, Brian J. McMenamy, Peter Warlick,

Beverly K. Goulet, and Mark Burdette (the “Defendants,” and together with the Plaintiffs, the

“Parties”) for relief under the Uniformed Services Employment and Reemployment Rights Act

of 1994 (“USERRA”), 38 U.S.C. § 4301 et seq. and ERISA, 29 U.S.C. § 1001 et seq. (the

“Putative Class Claims”) for alleged violations in connection with the calculation of employer

contributions for American Airlines pilots’ periods of qualified military service, including, but

not limited to, the period prior to the Commencement Date through the Effective Date (the

“Pending Litigation”). Among other things, the Pending Litigation asserted that the fiduciaries

of the American Airlines, Inc. Pilot Retirement Benefit Program (the “Pilot Pension Plan”) did

not collect certain minimum required contributions from American Airlines, Inc. (“American
                                                       2
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Airlines”), and, thus, the Pilot Pension Plan did not allocate sufficient employer contributions to

the Plaintiffs’ retirement accounts necessary to comply with USERRA.

C.        Proof of Claim No. 12092

                    4.        On July 16, 2012, the PBAC filed proofs of claim against each Debtor

entity, including Proof of Claim No. 12092 (the “Proof of Claim”) in the priority amount of

$129,700,000 against American Airlines, a copy of which is annexed hereto as Exhibit “B.”

The Proof of Claim was asserted on account of the Debtors’ employee pension benefit plan

obligations, including American Airlines’ obligation to make minimum required contributions to

the Pilot Pension Plan (the “Retirement Plan Claims”). On February 14, 2014, the PBAC

consensually withdrew their proofs of claim that were filed against each Debtor entity on account

of the Retirement Plan Claims, including the Proof of Claim.

D.        Settlement Agreement

                    5.        On July 21, 2016, the Parties and American Airlines entered into that

certain Settlement Agreement (the “Settlement Agreement”) which, among other things,

provided the Plaintiffs with settlement consideration in the form of an Allowed Claim of $4.45

million (the “Allowed Claim”).

                    6.        On August 5, 2016, the Massachusetts District Court entered its Order

Granting Plaintiff’s Unopposed Motion for Preliminary Approval of Settlement (the

“Preliminary Approval Order”) which approved, among other things, the proposed notice

procedures to class members, objection deadlines, and scheduled a fairness hearing for January

27, 2017.1




1
    A copy of the Preliminary Approval Order is annexed hereto as Exhibit “C.”

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                                                  Jurisdiction

                    7.        The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                                               Relief Requested

                    8.        The Debtors request entry of an order, substantially in the form annexed

hereto as Exhibit “A,” pursuant to Rule 9019(a) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), approving that certain Settlement Agreement, dated July 16, 2016 by

and among the Parties and American Airlines, a copy of which is annexed hereto as Exhibit

“D.”

                                          The Settlement Agreement

                    9.        After extensive arm’s-length negotiations, the Parties and American

Airlines have agreed, subject to this Court’s approval, to enter into the Settlement Agreement to

consensually resolve the Pending Litigation.

                    10.       The following briefly summarizes some of the major terms of the

Settlement Agreement:2

                     a)       Allowed Claim. Upon entry of an order from the Massachusetts District
                              Court approving the Settlement Agreement, an American Class 5 Claim
                              (American Other General Unsecured Claims) shall be Allowed on behalf
                              of the Plaintiffs in the amount of $4.45 million and shall be satisfied in
                              accordance with the Plan.

                     b)       Dismissal of Pending Litigation. The Parties will jointly agree to seek an
                              order and final judgment dismissing the Pending Litigation with
                              prejudice consistent with Rules 41(a)(2) and 23(e) of the Federal Rules of
                              Civil Procedure, subject to the terms of the Settlement Agreement.



2
  This summary is qualified in its entirety by the terms of the Settlement Agreement. To the extent of any
inconsistency between the summary and the Settlement Agreement, the terms of the Settlement
Agreement will control.

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                     c)       Release of Claims. In consideration for the distributions set forth in the
                              Settlement Agreement, the Plaintiffs will provide a release and waiver of
                              certain claims or causes of action that are pled in or related to claims pled
                              in the Pending Litigation.

                    d)        Bankruptcy Court Approval. Within thirty (30) days after receiving the
                              Preliminary Approval Order from the Massachusetts District Court (as
                              defined in the Settlement Agreement), the Debtors shall request
                              Bankruptcy Court approval of the Settlement Agreement.

                    e)        Massachusetts District Court Final Approval. Provided that the
                              Bankruptcy Court grants approval of the Settlement Agreement, Plaintiffs
                              are required to file a motion in the Massachusetts District Court for final
                              approval by January 9, 2017. The Massachusetts District Court has
                              tentatively scheduled the fairness hearing for the Settlement Agreement on
                              January 27, 2017.

                                  Ample Cause Exists to Approve the
                      Settlement Agreement Pursuant to Bankruptcy Rule 9019(a)

                    11.       Bankruptcy Rule 9019(a) authorizes a court, after notice and a hearing, to

approve a compromise or settlement of a controversy, providing, in relevant part, that “[o]n

motion by the [debtor in possession] and after notice and a hearing, the court may approve a

compromise or settlement.” Fed. R. Bankr. P. 9019(a). Pursuant to Bankruptcy Rule 9019,

bankruptcy courts can approve a compromise or settlement if it is in the best interest of the

estate. See Vaughn v. Drexel Burnham Lambert Group, Inc. (In re Drexel Burnham Lambert

Group, Inc.), 134 B.R. 499, 505 (Bankr. S.D.N.Y. 1991). The settlement need not result in the

best possible outcome for the debtor, but must not “fall beneath the lowest point in the range of

reasonableness.” Id.; see also Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d

Cir. 1983); In re Spielfogel, 211 B.R. 133, 144 (Bankr. E.D.N.Y. 1997).

                    12.       Settlements and compromises are “a normal part of the process of

reorganization.” Protective Comm. For Indep. Stockholders of TMT Trailer Ferry, Inc. v.

Anderson, 390 U.S. 414, 424 (1968) (quoting Case v. Los Angeles Lumber Prods. Co., 308 U.S.

106, 130 (1939)). Compromises “are favored in bankruptcy because they minimize the costs of

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litigation and further the parties’ interest in expediting the administration of a bankruptcy estate.”

In re Hilsen, 404 B.R. 58, 69 (Bankr. E.D.N.Y. 2009) (citations omitted).

                    13.       The applicable authorities direct a court to determine whether the

settlement is “fair and equitable” and “in the best interests of the estate.” TMT Trailer Ferry,

390 U.S. at 424; In re Ionosphere Clubs, Inc., 156 B.R. 414, 426 (S.D.N.Y. 1993), aff’d, 17 F.3d

600 (2d Cir. 1994) (a court need only find that the settlement is fair and equitable, reasonable

and in the best interests of the debtors’ estate). The court may exercise its discretion “in light of

the general public policy favoring settlements.” In re Hibbard Brown & Co., 217 B.R. 41, 46

(Bankr. S.D.N.Y. 1998).

                    14.       In determining whether to approve a settlement, an independent

determination that the settlement is fair and reasonable is required. Nellis v. Shugrue, 165 B.R.

115, 122–23 (S.D.N.Y. 1994). The following factors are generally considered in determining

whether to approve a settlement: (i) the probability of success in litigation, with due

consideration for the uncertainty in fact and law; (ii) the difficulties of collecting any litigated

judgment; (iii) the complexity and likely duration of the litigation and any attendant expense,

inconvenience and delay; (iv) the proportion of creditors who do not object to, or who

affirmatively support, the proposed settlement; (v) the competence and experience of attorneys

and other professionals who support the settlement; (vi) the relative benefits to be received by

affected parties; (vii) the extent to which the settlement is the product of arm’s-length bargaining

and not the product of fraud or collusion; and (viii) the debtor’s informed judgment that the

settlement is fair and reasonable. See TMT Trailer Ferry, 390 U.S. at 424; In re Ashford Hotels,

Ltd., 226 B.R. 797, 804 (Bankr. S.D.N.Y. 1998); Ionosphere, 156 B.R. at 428 (citations omitted).




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                    15.       While a court must evaluate “all . . . factors relevant to a full and fair

assessment of the wisdom of the proposed compromise,” TMT Trailer Ferry, 390 U.S. at 424,

there is no requirement for the court to conduct a “mini-trial” of the claims being settled or a full

independent investigation. See In re W.T. Grant Co., 699 F.2d at 608; In re Drexel Burnham

Lambert Grp., Inc., 134 B.R. at 505. Rather, a court should “canvass the issues and see whether

the settlement ‘fall[s] below the lowest point in the range of reasonableness.’” In re W.T. Grant

Co., 699 F.2d at 608 (internal citations omitted); accord Drexel Burnham, 134 B.R. at 505.

                    16.       The Settlement Agreement readily satisfies the standards for approval.

The Debtors, in consultation with their attorneys, have carefully and comprehensively analyzed

the Pending Litigation and have concluded that the Settlement Agreement is in the best interests

of their estates. The Pending Litigation has been pending for over two years. The Parties have

engaged in extensive discussions and conducted informal discovery on the underlying issues,

including American Airlines’ potential obligation to indemnify PBAC and its officers and

directors for any claims arising from the Pending Litigation. Moreover, the Debtors submit that

the partial settlement of an Allowed Claim to the Plaintiffs is appropriate because the Pending

Litigation included certain prepetition claims arising from American Airlines’ obligation to make

minimum required contributions to the Pilot Pension Plan, and such obligation constituted the

underlying basis for the PBAC’s Proof of Claim. Based upon these considerations, the Parties

determined that it was mutually beneficial to enter into the Settlement Agreement to avoid the

substantial cost and uncertainty of further litigation.

                    17.       Accordingly, the Settlement Agreement should be approved under

Bankruptcy Rule 9019(a) as a valid exercise of the Debtors’ reasonable business judgment and as

being in the best interests of the Debtors’ estates and all parties in interest.


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                                                    Notice

                    18.       Notice of this Motion has been provided to counsel for Plaintiffs and

parties in interest in accordance with the Amended Order Pursuant to 11 U.S.C. §§ 105(a) and

(d) and Bankruptcy Rules 1015(c), 2002(m), and 9007 Implementing Certain Notice and Case

Management Procedures, dated August 8, 2012 (ECF No. 3952). In view of the facts and

circumstances, such notice is sufficient and no other or further notice need be provided.

                    19.       No previous request for the relief sought in this Motion has been made by

the Debtors to this or any other Court.




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          WHEREFORE the Debtors respectfully request entry of an order granting the relief

requested herein and such other and further relief as is just.

Dated: New York, New York
       September 6, 2016

                                               /s/ Stephen A. Youngman
                                               Stephen Karotkin
                                               Alfredo R. Pérez
                                               Stephen A. Youngman

                                               WEIL, GOTSHAL & MANGES LLP
                                               767 Fifth Avenue
                                               New York, New York 10153
                                               Telephone: (212) 310-8000
                                               Facsimile: (212) 310-8007

                                               Attorneys for Debtors
                                               and Reorganized Debtors




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                                     Exhibit “A”

                                    Proposed Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :         Chapter 11 Case No.
                                                               :
AMR CORPORATION, et al.,                                       :         11-15463 (SHL)
                                                               :
                                    Debtors.                   :         (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                           ORDER PURSUANT TO
              FED. R. BANKR. P. 9019(a) APPROVING SETTLEMENT
      AGREEMENT RESOLVING CERTAIN PENDING ERISA/USERRA LITIGATION

                    Upon the motion, dated September 6, 2016 (the “Motion”),1 of AMR Corporation

and its related debtors, as debtors and reorganized debtors (collectively, the “Debtors”), pursuant

to Rule 9019(a) of the Federal Rules of Bankruptcy (the “Bankruptcy Rules”) for entry of an

order approving the Settlement Agreement, all as more fully described in the Motion; and the

Court having jurisdiction to consider the Motion and the relief requested therein in accordance

with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference M-431, dated

January 31, 2012 (Preska, C.J.); and consideration of the Motion and the relief requested therein

being a core proceeding pursuant to 28 U.S.C. § 157(b); and due and proper notice of the Motion

having been provided, and it appearing that no other or further notice need be provided; and a

hearing having been held to consider the relief requested in the Motion (the “Hearing”); and

upon the record of the Hearing and all of the proceedings had before the Court; and the Court

having found and determined that the relief sought in the Motion is in the best interests of the

Debtors, their estates, creditors, and all parties in interest, and that the legal and factual bases set

1
    Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such terms in
    the Motion.



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forth in the Motion establish just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefor, it is

                    ORDERED that the Motion is granted as provided herein; and it is further

                    ORDERED that, pursuant to Bankruptcy Rule 9019(a), the Settlement Agreement

is approved in its entirety; and it is further

                    ORDERED that, in accordance with, and pursuant to, the terms of the Settlement

Agreement, Plaintiffs shall hold an Allowed American Class 5- American Other General

Unsecured Claim in the amount set forth in the Settlement Agreement; and it is further

                    ORDERED that the claims agent is authorized to update the claims register in

accordance with this Order and the Settlement Agreement; and it is further

                    ORDERED that the Debtors are authorized to take any actions as are necessary or

appropriate to implement and effectuate the terms of this Order; and it is further

                    ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from or related to this Order.

Dated: New York, New York
       _____________, 2016


                                                     United States Bankruptcy Judge




                                                    2
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                                      Exhibit “B”

                                 Copy of Proof of Claim




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                                     Exhibit “C”

                              Preliminary Approval Order




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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                 )
 JAMES MICHAEL ALLMAN on behalf of
                                 )
 himself and all others similarly situated,
                                 )
                                 )
                Plaintiff,       )
           v.                    )                    Docket No. 14-cv-10138
                                 )
 AMERICAN AIRLINES, INC. PILOT )
 RETIREMENT BENEFIT PROGRAM )
 VARIABLE INCOME PLAN, STATE )
 STREET BANK & TRUST COMPANY, )
 LAURA A. EINSPANIER, CAROLYN E. )
 WRIGHT, BRIAN J. MCMENAMY,      )
 PETER WARLICK, BEVERLY K. )
 GOULET, MARK BURDETTE, AND      )
 JOHN & JANE DOES 1-50.          )
                                 )
                Defendants.      )



                                     ORDER
                     GRANTING PLAINTIFF’S UNOPPOSED MOTION
                    FOR PRELIMINARY APPROVAL OF SETTLEMENT

       This matter is before the Court on Plaintiff’s Unopposed Motion for Preliminary

Approval of Settlement Agreement and Class Notice in the above-captioned action (“the

Motion”). The Court, having reviewed the Motion and the relevant portions of the record,

ORDERS that the Motion is GRANTED, and further ORDERS as follows:

       1.      The Court does hereby preliminarily approve the Settlement Agreement, subject

to further consideration and final approval under Federal Rules of Civil Procedure 23(e) at the

Final Approval Hearing described below. Specifically, the Court preliminary finds that

               a.      the Settlement Agreement is the product of extensive arm’s length

       negotiations;



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               b.       Plaintiff’s counsel engaged in sufficient discovery before settlement to

        make an informed judgment about settlement;

               c.       Plaintiff’s counsel are experienced in the prosecution of class actions

        generally and employment, USERRA, and ERISA litigation in particular; and

               d.       There are no obvious deficiencies in the settlement and upon review of the

        Settlement Agreement, the Court preliminarily finds the settlement to be fair, reasonable

        and adequate.

        2.     The proposed Plan of Allocation is preliminarily approved.

        3.     The proposed Process for Challenging Defendants’ Personnel Data is

preliminarily approved.

        4.     The proposed Notice is approved, and the Parties’ proposed plan for

disseminating notice of the Settlement Agreement pursuant to Federal Rule of Civil Procedure

23(e)(1) is approved. The court finds that the Notice and the plan for distribution and

publication of the Notice are the best practicable and comply with the requirements of Rule 23

and meets the requirements of due process.

        5.     Specifically, the Notice describes the terms of the Settlement, instructs Class

Members about their rights and options under the Settlement, and adequately informs Class

Members of Class Counsel’s intentions with respect to requesting attorneys’ fees and expenses

and a service award for the Class Representative.

        6.     A.B. Data is appointed as the Settlement Administrator and shall execute the

duties set forth in the Settlement Agreement

        7.     Defendants shall provide the Notices and Materials to the Appropriate State and

Federal Officials required by the Class Action Fairness Act, 28 U.S.C. § 1715, by July 29,

2016,
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and shall submit a declaration by July 29, 2016 stating the officials to whom the materials were

sent and the date on which the materials were sent. For the purpose of providing such Notices

and Materials, the Appropriate State and Federal Officials under CAFA, 28 U.S.C.

§ 1715(a) & (b), are the Attorney General of the United States and the Attorneys General of the

states in which the identified Class Members reside. In light of the terms of the Settlement

Agreement, which does not disclose or identify the amount or portion of the losses attributable to

Class Members who reside in particular states, it is not feasible to include in the Notices to the

Appropriate State and Federal Officials the information described in CAFA, 28 U.S.C. §

1715(b)(7) (A) & (B).

       8.      Within 10 business days of the date of this Order, Defendants and the Plan

Administrator of the American Airlines, Inc. Pilot Retirement Benefit Program Variable Income

Plan (“the Plan”) are hereby authorized to provide and shall provide to the Settlement

Administrator and Class Counsel the following contact information for each known Class

Member: (1) a street mailing address; (2) telephone number(s); (3) company e-mail address(es),

including email accounts provided by American Airlines; (4) Plan account number(s); (5) Social

Security number; and (6) an indication of whether the Class Member is currently on Long-Term

Military Leave and, if so, any additional contact information of the types set forth above for the

Class Member applicable during the period of Long-Term Military Leave.

       9.      The Settlement Administrator shall send the Notice, in a form substantially

similar to the one submitted by the Parties, by U.S. Mail and e-mail to the members of the Class

identified by Defendants by September 5, 2016.




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       10.     The Settlement Administrator shall submit a declaration to the Court confirming

its compliance with the Notice procedures of this Order and the Settlement Agreement by

October 5, 2016.

       11.     Class Counsel shall file any motion for an award of attorneys’ fees or

reimbursement of expenses or costs and any motion for a service award for the Class

Representative by October 20, 2016.

       12.     All objections or comments to the Settlement Agreement must be postmarked no

later than November 4, 2016, and addressed to the following address: United States District

Court for the District of Massachusetts, Attn: Judge Indira Talwani / Comment on American

Settlement, 1 Courthouse Way, Suite 2300, Boston, Massachusetts 02210-3002.

       13.     All objections or comments must state the name of the Class Member objecting or

commenting, the person’s address and telephone number, the name and number of the case,

Allman v. American Airlines, Inc. Pilot Retirement Program Variable Income Plan, et al., No.

14-cv-10138-IT (D. Mass.), and a brief explanation of the person’s reason for objecting or

commenting, and must be signed by the person. To the extent that any objections or comments

are transmitted to Settlement Administrator, the Parties, or the Parties’ counsel, but are not filed

with the Court, those persons are hereby directed to file such objections with the Court.

       14.     All requests to be excluded from the Class must be postmarked no later than

November 4, 2016, and addressed to the following address: United States District Court for the

District of Massachusetts, Attn: Judge Indira Talwani / Exclusion From American Settlement, 1

Courthouse Way, Suite 2300, Boston, Massachusetts 02210-3002. Each exclusion must state the

person’s name, address and telephone number, a statement in the person’s handwriting stating

that he or she wants to be excluded from Allman v. American Airlines, Inc. Pilot Retirement


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Program Variable Income Plan, et al., No. 14-cv-10138-IT (D. Mass.), and be signed by the

person.

          15.   All challenges by Class Members to Defendants’ data must be postmarked no

later than November 4, 2016, and must be mailed directly to the Settlement Administrator.

          16.   The Settlement Administrator shall complete all adjudications to challenges to

Defendants’ data by December 19, 2016.

          17.   The Settlement Administrator shall file a Declaration with the Court confirming

its compliance with the adjudication procedures of the Settlement Agreement by December

26, 2016.

          18.   Plaintiff shall file his motion for final approval of the Settlement Agreement by

January 9, 2017.

          19.   The Court shall hold a fairness hearing at 2:30 pm on January 27, 2017, at the

United States District Court for the District of Massachusetts, located at 1 Courthouse Way,

Suite 2300, Boston, Massachusetts 02210, in Courtroom 9.

                IT IS SO ORDERED.

August 5, 2016                                              /s/ Indira Talwani
                                                            United States District Judge




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                                     Exhibit “D”

                                 Settlement Agreement




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     EXHIBIT B
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 In re                                                          :         Chapter 11 Case No.
                                                                :
 AMR CORPORATION, et al.,                                       :         11-15463 (SHL)
                                                                :
                                     Debtors.                   :         (Jointly Administered)
                                                                :
 ---------------------------------------------------------------x

                            ORDER PURSUANT TO
               FED. R. BANKR. P. 9019(a) APPROVING SETTLEMENT
       AGREEMENT RESOLVING CERTAIN PENDING ERISA/USERRA LITIGATION

                     Upon the motion, dated September 6, 2016 (the “Motion”), 1 of AMR Corporation

 and its related debtors, as debtors and reorganized debtors (collectively, the “Debtors”), pursuant

 to Rule 9019(a) of the Federal Rules of Bankruptcy (the “Bankruptcy Rules”) for entry of an

 order approving the Settlement Agreement, all as more fully described in the Motion; and the

 Court having jurisdiction to consider the Motion and the relief requested therein in accordance

 with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference M-431, dated

 January 31, 2012 (Preska, C.J.); and consideration of the Motion and the relief requested therein

 being a core proceeding pursuant to 28 U.S.C. § 157(b); and due and proper notice of the Motion

 having been provided, and it appearing that no other or further notice need be provided; and a

 hearing having been held to consider the relief requested in the Motion (the “Hearing”); and

 upon the record of the Hearing and all of the proceedings had before the Court; and the Court

 having found and determined that the relief sought in the Motion is in the best interests of the

 Debtors, their estates, creditors, and all parties in interest, and that the legal and factual bases set


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     Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such terms in
     the Motion.
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 forth in the Motion establish just cause for the relief granted herein; and after due deliberation

 and sufficient cause appearing therefor, it is

                     ORDERED that the Motion is granted as provided herein; and it is further

                     ORDERED that, pursuant to Bankruptcy Rule 9019(a), the Settlement Agreement

 is approved in its entirety; and it is further

                     ORDERED that, in accordance with, and pursuant to, the terms of the Settlement

 Agreement, Plaintiffs shall hold an Allowed American Class 5- American Other General

 Unsecured Claim in the amount set forth in the Settlement Agreement; and it is further

                     ORDERED that the claims agent is authorized to update the claims register in

 accordance with this Order and the Settlement Agreement; and it is further

                     ORDERED that the Debtors are authorized to take any actions as are necessary or

 appropriate to implement and effectuate the terms of this Order; and it is further

                     ORDERED that this Court shall retain jurisdiction to hear and determine all

 matters arising from or related to this Order.

 Dated: New York, New York
        November 15, 2016

                                                      /s/ Sean H. Lane
                                                      United States Bankruptcy Judge




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